                  Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 1 of 20


AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                       United States District Court
                                                                           for the

                                                          Southern District of New York

                         Sacerdote, et al.
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.         1 -16-CV-06284-KBF
                                                                               )
                      New York University
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                           TIAA-CREF
 To:
                                                          730 Third Ave., New York, NY 10017

                                                       (Name ofperson to whom this subpoena is directed)


         & Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
             See Exhibit A




  Place: Schlichter, Bogard & Denton LLP                                                 Date and Time:
            100 S. 4th Street, Suite 1200
                                                                                                             08/25/2017 10:00 am
            St. Louis, MO 63102


        Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.


  Place:                                                                                Date and Time:




       The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 Date:        08/11/2017

                                   CLERK OF COURT
                                                                                            OR                               (


                                           Signature of Clerk or Deputy Clerk                                         Attorney 's signature



 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                 Dr. Alan Sacerdote
et al.                                                                                            , who issues or requests this subpoena, are:

 Stephen Hoeplinger, 100 S. 4th St., Ste 1200, St. Louis MO 63102, shoeplinger@uselaws.com, 314.621.6115


                                        Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).



                                                                                                                                              EX. 1
                  Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 2 of 20


AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No. 1 : 1 6-CV-06284-KB F

                                                               PROOF OF SERVICE

                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)


            I received this subpoena for (name of individual and title, ifany)

on (date)



                I served the subpoena by delivering a copy to the named person as follows:



                                                                                           on (date)                                    ; or



                I returned the subpoena unexecuted because:




            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, 1 have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are $                                      for travel and $                              for services, for a total of $                0.00




            I declare under penalty of perjury that this information is true.



Date:
                                                                                                    Server 's signature




                                                                                                  Printed name and title




                                                                                                     Server 's address



Additional information regarding attempted service, etc.:




                                                                                                                                               EX. 1
                   Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 3 of 20


AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection ofPremises in a Civil Action(Page 3)


                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                               (ii) disclosing an unrctaincd expert's opinion or information that docs
                                                                                  not describe specific occurrences in dispute and results from the expert's
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows;                    (C) Specifying Conditions as an Alternative. In the circumstances
  (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
  (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (c) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
  (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they arc kepi in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     ( B) Form for Producing Electronically Stored Information Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms,
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded lo produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible, because of undue burden or Cost. If lhat showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial,                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to           (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim lhat it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where            until the claim is resolved; musl take reasonable steps lo retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed ii before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal lo lite court for Ihc district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court— may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or




                                         For access to subpoena materials, see Fed. R. Civ P. 45(a) Committee Note (20 13).




                                                                                                                                                  EX. 1
          Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 4 of 20




                           EXHIBIT A, SUBPOENA TO TIAA-CREF

                                           DEFINITIONS

    The following definitions and instructions apply to and are expressly incorporated into the

description of documents subject to this Subpoena:

        1.      “TIAA-CREF,” “you,” and “your” refer to TIAA-CREF, and all of its parents,

subsidiaries, divisions, affiliates, predecessors or successors, all entities with which it have

merged, and all present and former officers, directors, employees, representatives, agents, and all

other persons acting for and on its behalf.

        2.      “NYU” means New York University and all of its committees, affiliates,

divisions, departments, offices, administrative units, and all present and former officers,

directors, employees, representatives, agents, and all other persons acting for and on its behalf.

        3.      “Plans” refer to the NYU School of Medicine Retirement Plan for Members of

Faculty, Professional Research Staff and Administration and the New York University

Retirement Plan for Members of the Faculty, Professional Research Staff and Administration,

and all of their affiliated, predecessor, or successor plans, and all plans with which they have

merged.

        4.      “Other NYU Plans” means, other than the Plans as defined above, all defined

contribution plans, defined benefit plans, and non-qualified plans sponsored by NYU or the

NYU School of Medicine that are serviced by TIAA-CREF.

        5.      “CLC” refers to Cammack LaRhette Consulting, a/k/a Cammack Retirement

Group, Inc., and all of its subsidiaries, divisions, affiliates, predecessors or successors, all entities

with which it has merged, and all present and former officers, directors, employees,

representatives, agents, and all other persons acting for and on its behalf.




                                                                                                 EX. 1
        Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 5 of 20




       6.      “RFP” refers to, collectively, Requests for Proposals, Requests for Quotes,

Requests for Information or any other similar request.

       7.      “Ibbotson” refers to Ibbotson Associates and all of its subsidiaries, divisions,

affiliates, predecessors or successors (including Morningstar Inc.), all entities with which it has

merged, and all present and former officers, directors, employees, representatives, agents, and all

other persons acting for and on its behalf.

       8.      “Communications” means the transmittal of information (in the form of facts,

ideas, inquiries, or otherwise), whether verbal, written, electronic, or otherwise.

       9.       “Compensation” includes all direct payments of any kind, type or description;

any indirect payments including, without limitation revenue sharing, including both internal

revenue sharing from TIAA-CREF managed investments and external revenue from non-TIAA-

CREF managed investments, float, travel and/or any other thing of value received as a result of,

in respect of, and/or in connection with the Plans or their investments.

       10.     “Document” means information on any media whatsoever (paper, data file, or

other medium) and includes without limitation: letters, memoranda, notes, lists, E-mail, voice

mail, voice memos, prior and current drafts, messages, correspondence, affidavits, depositions,

narratives, logs, diaries, journals, ledgers, analyses, telegrams, minutes, contracts, reports,

studies, checks, statements, receipts, returns, summaries, pamphlets, books, cards, permits,

interoffice and intraoffice communications, notations, summaries, bulletins, notices,

photographs, teletypes, telecopy or faxes, invoices, tapes, sound recordings, video recordings,

spreadsheets, and work sheets. The term “document” includes all drafts, alternations,

modifications, amendments, and identical copies if found in different locations.




                                                  2
                                                                                                  EX. 1
        Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 6 of 20




       11.     “Refer to,” “referring to,” “relate to,” “relating to,” “related to” mean to mention,

analyze, discuss, describe, evidence, tend to prove or disprove, substantiate, or constitute, as the

context requires and as necessary to give the broadest scope to the document category.

       12.     “And” and “or” shall be construed disjunctively or conjunctively as necessary in

order to bring within the scope of these requests all information that might otherwise be

construed to be outside of the scope of these requests.

                                        INSTRUCTIONS

       1.      If any Document was, but no longer is, in your possession, custody, or control, or

is known to you but is no longer in existence or not within your custody, state whether it is:

               (a) missing or lost;

               (b) destroyed;

               (c) transferred (voluntarily or involuntarily) to others; or

               (d) disposed of in some other manner.

   In each instance, explain in detail the circumstances surrounding the disposition of the

Document, including your relevant record retention or destruction policies and procedures, who

authorized the action taken, who carried it out, and the date of the action taken. Additionally,

please identify each such Document including:

               (a) the type or character of the Document (e.g., letter, memorandum, signed

                   statement, notes, etc.);

               (b) title, if any, of the Document;

               (c) the name and address of the author of the Document;

               (d) the name and address of the recipient of the Document, if any;

               (e) the names and addresses of all recipients of copies of the Document, if any;

               (f) all information contained in each such Document;


                                                  3
                                                                                              EX. 1
        Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 7 of 20




                (g) the date and circumstances under which each such Document ceased to exist

                   or to be in your possession, custody, or control;

                (h) the time period during which each such Document was maintained;

                (i) the location of each such Document; and

                (j) the person or persons from whom each such Document may be obtained.

       2.       No redactions will be made to responsive documents except to redact privileged

or otherwise protected information, or personally identifiable information related to plan

participants.

       3.       To the extent you object to production or identification of any Document or

portion of any Document on the ground of privilege or rule of law, You shall furnish a privilege

log in accordance with Exhibit B hereto.

       4.       Documents and other materials produced in response to this subpoena shall be

subject to the Protective Order entered in the above-referenced action [Doc. 58] and produced in

accordance with the provisions of Exhibit B (below).

       5.       If the requested Documents are maintained in a file, please produce the file folder

or container with the Documents.

       6.       The use of a verb in any tense shall be construed as the use of the verb in all other

tenses, whenever necessary to bring into the scope of the specification all responses that might

otherwise be construed to be outside the scope.

                      RELEVANT TIME PERIOD FOR PRODUCTION

   Unless otherwise stated, the relevant time period is August 1, 2009 to the present.




                                                  4
                                                                                              EX. 1
        Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 8 of 20




              DESCRIPTION OF DOCUMENTS SUBJECT TO SUBPOENA

        1.     Documents and Communications, including e-mail, to or from TIAA-CREF and

from or to NYU related to the Plans and/or the Other NYU Plans.

        2.     Documents and Communications, including e-mail, to or from TIAA-CREF and

from or to CLC related to the Plans and/or the Other NYU Plans.

        3.     Documents related to trust agreements and recordkeeping agreements between

NYU and TIAA-CREF related to the Plans.

        4.     Documents related to all Compensation TIAA-CREF received, directly or

indirectly, as a result of the Plans and/or the Other NYU Plans. By way of example only, this

request includes:

               a. Invoices;

               b. Fee transparencies, Fee Analyses;

               c. Relationship Pricing Analyses;

               d. Client Report Cards;

               e. Rebates, credits, fee recapture, or return of Compensation to NYU, the Plans

                    and/or Other NYU Plans;

               f. Multi-Practice Reports;

               g. Action Plans; and

               h. Recordkeeping-Only cost analysis reports.

       5.      Documents related to monthly and yearly trial balance reports, including but not

limited to market value, plan activity summaries, fund activity, certified trial balances, summary

of net trust assets, and loan activity for the Plans and/or the Other NYU Plans.




                                                 5
                                                                                           EX. 1
        Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 9 of 20




        6.     Documents related to invoices, reconciliation reports, statements, and related

documents relating to the Plans and/or the Other NYU Plans.

        7.     Documents related to any fee waivers, free services, discounted services, services

provided at a reduced fee by TIAA-CREF to: (i) NYU; (ii) the Plans; and/or (iii) the Other NYU

Plans

        8.     Documents that reflect or relate to the potential or actual Compensation, including

revenue sharing, which is available to TIAA-CREF, NYU, the Plans, and the Other NYU Plans.

        9.     Participant level transaction or trading records for the Plans from January 1, 2009

through the present date. In the event this information contains no unique participant identifying

numbers other than social security numbers, this request includes the production of participants’

social security numbers.

        10.    All documents relating to potential consolidation of recordkeeping services for the

Plans and/or Other NYU Plans, including documents created in response to an RFP.

        11.    All documents relating to altering or streamlining investment option lineups in the

Plans and/or Other NYU Plans, including documents created in response to an RFP.

        12.    All documents relating to complaints you received from participants in the Plans.

        13.    All documents relating to any investment advisory services offered to participants

in the Plans, including any services provided by Ibbotson.

        14.    All documents relating to the performance of the CREF Stock Account, including

documents relating to its suitability as an investment option in 403(b) retirement plans.

        15.    All documents relating to the performance of the TIAA Real Estate Account,

including documents relating to its suitability as an investment option in 403(b) retirement plans.




                                                 6
                                                                                            EX. 1
       Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 10 of 20




       16.    All documents relating to the ability of other firms to provide recordkeeping

services for 403(b) retirement plan investment options offered by TIAA-CREF.

       17.    All documents relating to the ability of 403(b) retirement plan sponsors and/or

fiduciaries to remove TIAA-CREF investment options, such as the CREF Stock Account, TIAA

Real Estate Account, and the TIAA Traditional Annuity, from their retirement plan lineups.




                                               7
                                                                                         EX. 1
          Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 11 of 20




                            EXHIBIT B, SUBPOENA TO TIAA-CREF

  I.      Production of Hard Copy Documents

       Except as otherwise noted herein, hard copy documents will be produced as detailed in

Section VI. In scanning hard copy documents, multiple distinct documents should be scanned as

they are maintained and stored in the ordinary course. You shall provide OCR text for hard copy

documents scanned for production. OCR is to be performed on a document level and provided in

document-level *.txt files named to match the production number of the first page of the

document to which the OCR text corresponds. In the case of an organized compilation of

separate documents – for example, a binder containing several separate documents behind

numbered tabs −or example, a binder containing several separate documents behind numbered

tabs they are maintained and stored in the ordinary course. You shall provide OCR text as

described in Section VI.

 II.      Production of Electronically Stored Information

       Except as otherwise noted herein, ESI will be produced as detailed in Section VI. In addition,

all ESI will be produced with a delimited database load file containing the metadata fields listed

in Section VI and captured at the time of the collection. Any party, in addition to producing

designated ESI in native format, may produce ESI in a TIFF + metadata format as specified in

Section VI.

III.      Production of Structured Data Sources

          To the extent discoverable ESI is contained in structured data sources, you will identify

this for Plaintiffs so as to meet and confer to discuss the most appropriate and cost-effective

production format, which may include an export of data or the creation of a report. All exports

of data or reports will be produced in native format (csv file, excel file, or other agreed format).




                                                   8
                                                                                              EX. 1
         Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 12 of 20




IV.      Production of Media

      A. Documents shall be exchanged on DVD-ROMs, CD-ROMs, USB drives, or portable hard

drives, through secure file transfer protocols (e.g., SFTP), or via similar secure electronic

transmission. The production media shall be labeled with the Volume Number along with the

Bates Number range(s) of the materials, and where not practicable to do so, may be provided in

an accompanying letter.

      B. If you encrypt or “lock” a production, you shall simultaneously send, under separate

cover, the passcode and/or any necessary explanation of how to decrypt the files.

 V.      Processing Specifications

      A. Redactions. You shall make no redactions except as to privileged information or

personally identifiable information related to plan participants in the Plans or Other NYU Plans

(as defined in Exhibit A). Redactions for other reasons are prohibited unless you first (1) confers

with Plaintiffs and, if an agreement cannot be reached, (2) obtain leave of the Court. If you wish

to redact anything other than privileged information or personally identifiable information in

documents subject to a deadline for production, you must obtain consent of Plaintiffs or leave of

the Court before the production deadline passes; if you have not done so before the production

deadline passes, you must make your production without redactions.

      B. ESI Date and Time Processing. Your ESI should be processed using the Eastern Time

Zone (ET) for all data.

      C. Deduplication. You are only required to produce a single copy of a responsive document

and may de-duplicate responsive ESI (based on MD5 or SHA-1 hash values at the document

level) across custodians. For emails with attachments, the hash value shall be generated based on

the parent-child document grouping. Deduplication shall not break apart families. However,




                                                  9
                                                                                                EX. 1
         Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 13 of 20




metadata identifying all custodians in possession of each document that is removed as a duplicate

must be produced in the “CUSTODIAN” or “DUPLICATE CUSTODIAN” or Duplicate

Folder/Path field in the production load file subject to any exceptions provided in Section VI.

VI.      Production Format

      A. Hard Copy Documents. Hard copy documents will be scanned and produced as single-

page, black and white, Group IV, 300 DPI TIFF images with an .opt image cross-reference file

and a delimited database load file (i.e., .dat) with applicable objective coding fields listed below.

The delimited database load file shall include the page-document relationship, Bates number,

page count, and OCR’d text, as well as any other information specified in Parts C and D below,

and shall be produced in the manner specified in Parts C and D below (as applicable). If a

produced TIFF image is unreadable or appears to be otherwise missing information, the

Receiving Party may notify the Producing Party who will reproduce the document or portion of

the document if the original document is not similarly obscured. The parties will discuss

reasonable requests for production of color or oversized documents on a document-by-document

or category-by-category basis.

      B. Electronically Stored Information. Except as otherwise agreed between you and

Plaintiffs, ESI not requiring redaction shall be produced in native format. ESI requiring

redactions will be produced in tiff + metadata format as single-page, black and white, Group IV,

300 DPI TIFF images with OCR performed after applicable redactions are applied to the

produced image and with an .opt image cross-reference file and a delimited database load file

(i.e., .dat); however, the parties may confer regarding the use of native redaction tools to the

extent such tools would be appropriate.




                                                 10
                                                                                              EX. 1
       Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 14 of 20




   C. Native Files. Native files will be produced together with a relative file path to the native

file provided in the metadata load file. The extractable metadata and text shall be produced in the

same manner as other documents that originated in electronic form to the extent that metadata

exists or is reasonably accessible or available for any files produced.

   D. Bates Numbering. Each page of a tiff produced document will have a legible, unique

identifier (“Bates number”) assigned and electronically “burned” onto the image. The identifier

shall include an alpha prefix along with a fixed number, e.g., ABC000001. This format must

remain consistent and be placed in the lower right corner of all images so as not to unreasonably

obscure any information. No other legend or stamp will be placed on a document image besides

confidentiality legends (where applicable) or redactions.

   E. Associated Delimited Text File and Metadata Fields. A database load file shall be

provided in Concordance “.dat” file format that holds metadata in fields as a delimited text load

file. For the load file, the parties should use Concordance standard delimiters (ASCII 020

corresponding to a comma, ASCII 254 corresponding to a double quote, ASCII 174

corresponding to a new line, and a semicolon used to separate values). To the extent captured at

the time of the collection and processing, the fielded data should include all the metadata fields

listed below for a file/document in addition to the unitization (including the production number

of the first and last page of each document) and attachments (including information sufficient to

identify the parent and child relationships of all documents that are or have attachments). The

first line of the data load file should contain the field headers indicating the contents of each

field, and each subsequent line should contain the fielded data for each document. Load files

shall include the metadata fields listed below, or substantially identical metadata fields, to the

extent already in existence and reasonably accessible. You may produce additional fields, but




                                                  11
                                                                                               EX. 1
       Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 15 of 20




shall provide definitional information regarding such field(s) values no later than the time of

delivery of any production containing such fields. To the extent that metadata does not exist or

is not reasonably accessible or available for any documents produced, nothing in this ESI Order

shall require any party to extract, capture, collect, generate, or produce such data. However, the

parties will use reasonable efforts to collect and process ESI in such a manner as to capture the

metadata fields required by this ESI Order.

   F. Required Metadata for Hard Copy Documents. You shall produce hard copy documents

to the Receiving Party with the following metadata.

                FIELD NAME                                    FIELD DESCRIPTION
                                                  Beginning production number or Bates number
 BEGBATES
                                                  for a given file/document
                                                  Ending production number or Bates number
 ENDBATES
                                                  for a given file/document
                                                  Beginning production number or Bates number
 BegAttach
                                                  for an attachment to a given file/document
                                                  Ending production number or Bates number
 EndAttach
                                                  for an attachment to a given file/document
 PAGECOUNT                                        Number of pages for the document
 TEXT                                             Relative path to OCR text file
 Confidentiality                                  Confidentiality Designation
 Redaction                                        Redaction Reason
 Custodian                                        Custodian or Source

   G. Required Metadata for ESI. You shall produce ESI to the Receiving Party with the

following metadata.

                                                                                  APPLICABLE
   FIELD NAME          SAMPLE DATA              FIELD DESCRIPTION
                                                                                  FILE TYPE(S)
                                           Beginning production number or
 BEGBATES              ABC000001           Bates number for a given              All Documents
                                           file/document
                                           Ending production number or
 ENDBATES              ABC000002           Bates number for a given              All Documents
                                           file/document
                                           Beginning production number or
 BEGATTACH             ABC000001           Bates number for the attachment       All Documents
                                           range


                                                12
                                                                                            EX. 1
      Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 16 of 20




                                                                           APPLICABLE
 FIELD NAME      SAMPLE DATA             FIELD DESCRIPTION
                                                                           FILE TYPE(S)
                                    Ending production number or
ENDATTACH        ABC000015          Bates number for the attachment        All Documents
                                    range
                                    First Bates number of parent
                                    document/email

PARENT_BATES     ABC000001          **This PARENT_BATES field              All Documents
                                    should be populated in each
                                    record representing an attachment
                                    “child” document.
                                    First Bates number of “child”
                                    attachment(s); can be more than
                                    one Bates number listed
                 ABC000002;         depending on the number of
CHILD_BATES                                                                All Documents
                 ABC000014          attachments **The
                                    CHILD_BATES field should be
                                    populated in each record
                                    representing a “parent” document.
                                    Person, shared file or other source    All Documents
CUSTODIAN        Smith, John
                                    from whom files were collected
                                    To identify other custodians           All Documents
                                    whose files contained a particular
DUPLICATE        Brown, Julie;      document that was eliminated
CUSTODIAN        Black, Joe         through de-duplication to the
                                    extent not included in the
                                    CUSTODIAN field
                                    To identify other paths or folder      All Documents
                                    locations of files from a particular
DUPLICATE        \\servername\sha   document that was eliminated
PATH/FOLDER      re\Folder02        through de-duplication to the
                                    extent not included in the PATH
                                    field.
                                    Subject line extracted from email
SUBJECT          Meeting Minutes                                           Email
                                    message
FROM             Green, Frank       Sender                                 Email
                 Coleman, Janice;
TO                                Recipient                                Email
                 Lynch, William
CC               Cartwright, John Copyee                                   Email
BCC              Samuels, Hunter Blind Copyee                              Email
                                  Sent date of an email message in
DATESENT*            10/12/2012   the following format:                    Email
                                  MM/DD/YYYY




                                         13
                                                                                    EX. 1
    Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 17 of 20




                                                                        APPLICABLE
 FIELD NAME    SAMPLE DATA            FIELD DESCRIPTION
                                                                        FILE TYPE(S)
                                 Time the email was sent, with
TIMESENT*          07:05 PM      timezone normalized across all         Email
                                 produced records
                                 Date an email message was
DATERCVD*          10/12/2012    received in the following format:      Email
                                 MM/DD/YYYY
                                 Time the email was received,
TIMERCVD*          07:05 PM      with timezone normalized across        Email
                                 all produced records
                                 Name of person who created
                                 document or email.
AUTHOR*            Smith, John                                          E-Doc
                                 Parties acknowledge that the
                                 Author field may not actually be
                                 the Author of the document.
               October
FILENAME                         Original file name of native           E-Doc
               Agenda.doc        document.
               C:\My             Original path for documents (if
PATH           Documents\Age                                            All Documents
                                 this information has been
               nda               captured).
                                 Date document was created.

                                 Parties acknowledge that the Date
                                 Created field may not actually be
                                 the Date Created due to the ease
DATECREATED
               10/1/2011         of change to that field and the        E-Doc
*                                technical definition of the field
                                 (e.g., the created date reflects the
                                 date when the file was created in
                                 that particular location on the
                                 computer or on the other storage
                                 device location).




                                      14
                                                                                 EX. 1
     Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 18 of 20




                                                                          APPLICABLE
 FIELD NAME     SAMPLE DATA              FIELD DESCRIPTION
                                                                          FILE TYPE(S)
                                    Time document was created.

                                    Parties acknowledge that the
                                    Time Created field may not
                                    actually be the Time Created due
TIMECREATED*    9:18 AM             to the ease of change to that field   E-Doc
                                    and the technical definition of the
                                    field (e.g., the created time
                                    reflects the time when the file was
                                    created in that particular location
                                    on the computer or on the other
                                    storage device location).
DATELASTMOD                         Date the document was last
                10/15/2011                                                E-Doc
*                                   modified in MM/DD/YYYY
                                    format.
TIMELASTMOD                         Time file was last modified, with
                11:07 AM                                                  E-Doc
*                                   timezone normalized across all
                                    produced records.
FILEEXT         Msg                 File extension of native              All Documents
                                    document.
PAGECOUNT       16                  Number of pages for the               All Documents
                                    document
                d131dd02c5e6ee                                            All Documents
                c5694d0698aff8
HASH            5c2fsch5876217      MD5 or SHA1 Hash Value
                eab40045733b8f
                b789

NATIVEFILE      D:\001\ABC000       Original path or hyperlink to         Native
PATH            005.xls             documents being produced in
                                    native file format.
TEXT            Relative path to    OCR or extracted text file            All Documents
                extracted text or
                OCR for the
                document

Redaction       Privilege           Reason for Redaction on a             All Documents
                                    Document




                                         15
                                                                                   EX. 1
        Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 19 of 20




VII.    Privilege Logs and Production logs

        For documents redacted or withheld from production on the basis of attorney-client

 privilege, work product doctrine and/or any other applicable privilege, you shall provide

 Plaintiffs a privilege log in compliance with Federal Rule 26(b)(5) and Local Rule 26.2 no later

 than the deadline for serving responses to the Receiving Party’s discovery requests. To the extent

 you conclude in good faith that you will be unable to provide the privilege log within the

 applicable period set forth above, it will promptly and in advance of the relevant deadline notify

 Plaintiffs in order to meet and confer to determine the earliest practicable time you can provide

 privilege log(s). The privilege log(s) described above shall contain for each document claimed

 as privileged, the following information:

            1. The type of document, e.g., letter or memorandum

            2. BEGNO (or, for produced documents containing redactions, BEGBATES)

            3. ENDNO (or, for produced documents containing redactions, ENDBATES)

            4. ALL CUSTODIANS

            5. DATE

            6. AUTHOR

            7. TO

            8. CC

            9. BCC

            10. A description of the privilege claim asserted (e.g., attorney-client privilege and/or

        work product)

            11. A sufficient description of the document or communication at issue that will allow

        the Receiving Party and the Court to assess the claim of privilege.




                                                 16
                                                                                              EX. 1
       Case 1:16-cv-06284-AT Document 298-1 Filed 04/19/18 Page 20 of 20




For the author and all recipients of the redacted or withheld communications, the producing party

shall also identify their capacities, positions, or work titles or otherwise provide sufficient

information that will allow the parties to assess the claim and any potential waiver of privilege or

protection.




                                                  17
                                                                                                  EX. 1
